476 F.2d 1282
    J. D. SANDERS, Petitioner-Appellant,v.W. J. ESTELLE, Director, Texas Department of Corrections,Respondent-Appellee.
    No. 73-1355 Summary Calendar.a
    United States Court of Appeals,Fifth Circuit.
    May 23, 1973.
    
      Alan S. Dale, Houston, Tex.  (Court-appointed), for petitioner-appellant.
      John L. Hill, Atty. Gen., E. Bruce Curry, Asst. Atty. Gen., Austin, Tex., for respondent-appellee.
      Before BELL, GODBOLD and INGRAHAM, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, a Texas state prisoner serving life for murder with malice, assigns as error only four of the several contentions previously asserted in three separate federal habeas petitions.
    
    
      2
      The assignments of error are based on two instances of alleged improper and prejudicial argument by the state prosecutor; the failure of the state trial court to make available to appellant the transcript of the testimony of a witness before the grand jury so as to develop inconsistencies in the trial testimony of the witness; and lastly, the concealment of exculpatory evidence by the state.  The district court found no merit in these contentions.
    
    
      3
      We conclude that the findings of fact and conclusions of law entered by the district court against appellant are amply supported in fact and in law.  The judgment against appellant is therefore due to be and it is
    
    
      4
      Affirmed.
    
    
      
        a
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
    
    